            Case 1:14-cv-01687-RC Document 11 Filed 12/30/14 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


TAMBU PATRICK,

               Plaintiff,

       v.                                                1:14-cv-1687-RC

DISTRICT OF COLUMBIA, et al.,

               Defendants.


                            District of Columbia’s Motion to Dismiss

       The District of Columbia (the District) respectfully moves to dismiss the plaintiff’s

complaint under Rule 12(b)(6) of the Federal Rules of Civil Procedure. The plaintiff may not

recover for the intentional torts he alleges (Counts 1 and 2) because they are time-barred, and

because the plaintiff has not complied with the notice requirement of D.C. Code section 12-309;

the plaintiff fails to state a claim for negligence (Count 3), and his failure to comply with section

12-309 also bars his negligence claim; the plaintiff’s constitutional claims (Counts 4-7) fail

because there are no allegations showing the District is liable for his alleged constitutional

injuries; and, the plaintiff fails to state a claim on three of his four constitutional claims. The

Court should therefore dismiss the plaintiff’s complaint against the District.


December 30, 2014                      Respectfully submitted,

                                       EUGENE A. ADAMS
                                       Interim Attorney General for the District of Columbia

                                       GEORGE C. VALENTINE
                                       Deputy Attorney General, Civil Litigation Division

                                       /s/ Jonathan H. Pittman
                                       JONATHAN H. PITTMAN [430388]

                                                   1
	  
           Case 1:14-cv-01687-RC Document 11 Filed 12/30/14 Page 2 of 2




                                       Chief, Civil Litigation Division Section III
                                       441 Fourth Street, N.W., Suite 630 South
                                       Washington, D.C. 20001
                                       (202) 724-6602
                                       (202) 741-8926 (fax)
                                       jonathan.pittman@dc.gov

                                       /s/ Ali Naini
                                       ALI NAINI [998331]
                                       Assistant Attorney General
                                       441 Fourth Street, N.W., Suite 630 South
                                       Washington, D.C. 20001
                                       (202) 727-9624
                                       (202) 730-1441 (fax)
                                       ali.naini@dc.gov

                                       Counsel for the District of Columbia


                                      LCvR 7(m) Statement


         Because this is a dispositive motion, Local Civil Rule 7(m)’s duty to confer does not

apply.


                                       Certificate of Service

         I certify that on December 30, 2014, the plaintiff was served with a copy of this motion

and all attachments via U.S. mail sent to:


Tambu Patrick, R32915-007
Gilmer Federal Correctional Institution
Inmate Mail/Parcels
P.O. Box 6000
Glenville, WV 26351

                                       /s/ Ali Naini




                                                   2
	  
